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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

              YANG SHEN and XIAOXIA YU                               )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:19-cv-02212
                                                                     )
        GJ GROUP USA INC. and ZEXIN JIANG                            )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ZEXIN JIANG
                                           157-18 Quince Ave.
                                           Flushing, NY 11355




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Baya Harrison, Esq.
                                           New York Bar: 5678610
                                           The Harrison Law Firm P.C.
                                           38-08 Union Street, Suite 11A, Flushing, NY 11354
                                           Tel: (866) 943-2692
                                           Fax: (866) 943-2692
                                           Email: bwh@heboya.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                  DOUGLAS C. PALMER
                                                                                CLERK OF COURT


Date:            6/17/19                                                              s/ Aaron Isaiah Herrera
                                                                                           Signature of Clerk or Deputy Clerk
